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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

PHILADELPHIA YEARLY MEETING OF
THE RELIGIOUS SOCIETY OF FRIENDS,
NEW ENGLAND YEARLY MEETING OF
THE RELIGIOUS SOCIETY OF FRIENDS,
BALTIMORE YEARLY MEETING OF THE
RELIGIOUS SOCIETY OF FRIENDS, INC.,
ADELPHI FRIENDS MEETING OF THE
RELIGIOUS SOCIETY OF FRIENDS and
RICHMOND FRIENDS MEETING OF THE
RELIGIOUS SOCIETY OF FRIENDS,

Plaintiffs, Civil Action No. TDC-25-0243

V.

U.S. DEPARTMENT OF
HOMELAND SECURITY and
KRISTI NOEM,

in her official capacity as Secretary of
Homeland Security,

Defendants.

ORDER
For the reasons stated during the January 31, 2025 Case Management Conference, it is
hereby ORDERED that:
1. Plaintiffs are granted leave to file an Amended Complaint and a Motion for a
Temporary Restraining Order and Preliminary Injunction. The Amended Complaint

and Motion will be deemed timely if filed by Tuesday, February 4, 2025.
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2. Defendant’s Opposition to the Motion is due by Friday, February 7, 2025.
3. Any reply brief on the Motion is due by Monday, February 10, 2025.
4. A hearing on the Motion shall be scheduled for Wednesday, February 12, 2025 at

9:30 a.m.

Date: February » 2025

THEODORE D. CH
United States Distric
